               Case: 2:23-cr-00147-MHW Doc #: 45 Filed: 07/30/24 Page: 1 of 9 PAGEID #: 180
AO 245B (Rev. 09/19)    Judgmentin a Criminal Case
                        Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                           Southern District of Ohio

             UNITEDSTATESOF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                   V.

                       Mohamed Farah Waes                                       Case Number: 2:23cr147

                                                                                USMNumber: 70324-510
                                                                                 Eric Brehm and Joseph Edwards
                                                                                Defendant'sAttorney
THE DEFENDANT:
0 pleadedguiltyto count(s)              1 , 2 and 3 ofthe Su ersedin Information
D pleaded nolo contendere to count(s)
  whichwas acceptedby the court.
D wasfoundguilty on count(s)
  after a plea ofnot guilty.

The defendantis adjudicatedguilty ofthese offenses:

Title & Section                   Nature of Offense                                                     Offense Ended               Count

18U. S.C. §248(a)(1),             Interference with Access to Reproductive Health Services               7/5/2022                       1


18U. S.C. §248
18 U. S.C. § 875(c)               Interstate Threats                                                     7/5/2022 2

       The defendantis sentencedas providedin pages2 through                          ofthisjudgment. The sentence is imposedpursuantto
the SentencingRefonnAct of 1984.
D The defendanthasbeenfoundnot guilty on count(s)
DCount(s)                                               D is    D are dismissed on the motion ofthe United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change ofname, residence,
ormailing address until all fines, restitution, costs, andspecial assessments imposed by thisjudgment arefully paid. Ifordered to payrestitution,
the defen'aant must notify the court and United States attorney ofmaterial ch'anges in economic cu-cumstarices.

                                                                                                      7/24/2024
                                                                       Date ofImposition   Judg t




                                                                       Sign   e ofJudge




                                                                                 Michael H. Watson, United States District Judge
                                                                      Name and Title ofJudge



                                                                      Date
                                                                               1^1   /l         ft o<%5>
              Case: 2:23-cr-00147-MHW Doc #: 45 Filed: 07/30/24 Page: 2 of 9 PAGEID #: 181
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                       Sheet1A
                                                                              Judgment-Page       of
DEFENDANT:             Mohamed Farah Waes
CASENUMBER: 2:23cr147

                                           ADDITIONAL COUNTS OF CONVICTION

Title & Section                  Nature ofOffense                         Ofifcnse Ended      Count
18 U.S. C. § 1956(h)              Conspiracy to Commit Money Laundering    3/4/2020           3
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet2 - Imprisonment
                                                                                                    Judgment- Page        of
 DEFENDANT: Mohamed Farah Waes
 CASENUMBER: 2:23cr147

                                                           IMPRISONMENT

          The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a
total tenn of:
 11 months as to Count 1, 59 months as to Count 2 and 66 months as to Count 3 all to run concurrently.




      E] The courtmakesthe following recommendations to theBureauofPrisons:
           The defendant shall participate in the Bureau of Prison's 500 Hour Residential Substance Abuse Treatment Program;
           defendantshall participate in a mental health evaluation and/or mental health counseling at the direction of the BOP;
           defendant shall participate in cognitive behavior therapy; defendant shall participate in anger management therapy


      El The defendant is remanded to the custody ofthe United States Marshal.

     D The defendant shall surrenderto the United States Marshal for this district:

          D at                                   D a.m.      D p.m.          on

          D as notified by the United States Marshal.

     D The defendantshall surrenderfor service ofsentence at the institution designatedby the Bureau ofPrisons:

          D before 2 p.m. on

          a as notifiedby the United StatesMarshal.

          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN

I have executedthisjudgment as follows:




          Defendant delivered on                                                       to

at                                                , with a certified copy of this judgment.



                                                                                                 UNITEDSTATESMARSHAL


                                                                        By
                                                                                              DEPUTYUNITEDSTATESMARSHAL
                 Case: 2:23-cr-00147-MHW Doc #: 45 Filed: 07/30/24 Page: 4 of 9 PAGEID #: 183
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                        Judgment-Page       of
DEFENDANT: Mohamed Farah Waes
CASE NUMBER: 2:23cr147
                                                        SUPERVISEDRELEASE

Uponreleasefrom imprisonment,youwill beon supervisedreleasefor a term of:
  1 year as to Count 1, 3 years as to Counts 2 and 3 all to run concurrently




                                                    MANDATORY CONDITIONS
1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      Youmustrefrainfrom anyunlawfuluse ofa controlled substance.Youmust submitto one dmgtestwithin 15 daysofreleasefrom
        imprisonment and at least two periodic drug tests thereafter, as detennined by the court.
               D The above dmg testing condition is suspended, based on the court's detennination that you
                 pose a low risk of future substance abuse, (checkifapplicable)
4.       Ef Youmustmakerestitution in accordancewith 18U. S.C. §§ 3663 and3663Aor anyotherstatuteauthorizinga sentenceof
            restitution, (check if applicable)
5.       EfYoumustcooperateinthecollectionofDNAasdirectedbytheprobationofficer.(checkifapplicable)
6.       D Youmustcomplywiththe requirements ofthe SexOffenderRegistrationandNotificationAct (34U.S.C. § 20901, et seq.) as
           directedbytheprobationofficer, theBureauofPrisons,or anystate sexoffenderregistrationagencyinthelocationwhereyou
           reside, work, are a student, or were convicted of a qualifyingoffense. (checkifapplicable)
7.       D You must participate in an approvedprogram for domestic violence, (checkifapplicable)

You must comply with the standard conditions that have been adopted by this court aswell as with any other conditions on the attached
page.
               Case: 2:23-cr-00147-MHW Doc #: 45 Filed: 07/30/24 Page: 5 of 9 PAGEID #: 184
 AO245B (Rev. 09/19)    Judgmentin a Criminal Case
                        Sheet3A - SupervisedRelease
                                                                                              Judgment-Page                of
 DEFENDANT: Mohamed Farah Waes
 CASE NUMBER: 2:23cr147

                                       STANDARD CONDITIONS OF SUPERVISION
Aspartofyoursupervisedrelease,youmustcomplywiththe followingstandardconditionsofsupervision. Theseconditionsareimposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours ofyour
      releasefrom imprisonment,unlesstheprobationofBcerinstructsyouto reportto a differentprobationofficeorwithina differenttime
      frame.
2.    After mitially reporting to the probation ofBce, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instmcted.
3.    You must not knowingly leave the federaljudicial district where you are authorized to reside without first getting permission from the
      court or the probationofficer.
4.    Youmust answertruthfully the questions askedby yourprobation officer.
5.    You must live at a place approved by the probation officer. Ifyou plan to change where you live or anything about your livmg
      arrangements (such as the people you live with), you must notify the probation ofificer at least 10 days before the change. Ifnotifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours ofbecomingawareof a changeor expectedchange.
6.    Youmustallowtheprobationofficerto visityou at anytime atyourhomeorelsewhere,andyoumustpennittheprobationofGcerto
      take any items prohibited by the conditions ofyour supervision that he or she observes in plain view.
7.    You must work full time (at least 30hours perweek) at a lawful type ofemployment, unless the probationofficerexcusesyou from
      doing so. If you do not have full-time employreient you must try to fmd full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such asyour position or yourjob
      responsibilities),youmustnotifytheprobationofficerat least 10daysbeforethe change.Ifnotifyingtheprobationofificeratleast 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer withm 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. Ifyou know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the pennission ofthe
    probationofficer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a fireann, ammunition, destructive device, or dangerous weapon (i. e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreementwith a law enforcement agencyto act as a confidentialhuman source or informantwithout
    first getting the permission ofthe court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person aboutthe risk andyou must comply with thatinstruction. The probation officermay contactthe
    person and confinnthatyou havenotifiedthe person aboutthe risk.
13. You must follow the instructions ofthe probation officerrelatedto the conditions ofsupervision.



U. S. Probation Office Use Only
A U. S. probation officer has mstructed me on the conditions specified by the court andhas provided me with a written copy ofthis
judgment containing these conditions. For further mformation regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www. uscourts. ov


Defendant's Signature                                                                                  Date
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AO245B (Rev. 09/19)   Judgmentin a Criminal Case
                      Sheet3D- SupervisedRelease
                                                                                               Judgment-Page       of
DEFENDANT: Mohamed Farah Waes
CASE NUMBER: 2:23cr147

                                      SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in a program of testing, treatment and/or medication compliance for alcohol and
controlled substance abuse, as directed by the U.S. Probation Office, until such time as the defendant is released from the
program by the probation office. The defendant will make a co-payment for treatment services not to exceed $25 per
month, which is determined by the defendant's ability to pay.

2. The defendant shall participate in a program of mental health assessment and/or counseling, as directed by the United
States Probation Office, until such time as the defendant is released from such program by the probation office. The
defendant will make a co-payment for treatment services not to exceed $25 per month, which is determined by the
defendant's ability to pay.

3. The defendant shall provide all financial information requested by the probation officer.

4. The defendant shall not incur new credit charges or open lines of credit without the approval of the probation officer

5. The defendant shall not obtain employment or operate in a fiduciary manner with future employment.

6. The defendant shall have no contact with any Planned Parenthood of Greater Ohio (PPGOH) facility PPGOH call
center, or PPGOH employees.

7. The defendant shall have no alcohol or drugs of abuse in his system.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment-Page             of
DEFENDANT: Mohamed Farah Waes
CASE NUMBER: 2:23cr147
                                               CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule ofpayments on Sheet 6.

                       Assessment             Restitution              Fine                 AVAA Assessment*               JVTA Assessment**
TOTALS              $ 225. 00               $ 273, 982. 08


D The detennination of restitution is deferred until                      . An Amended Judgment in a Criminal Case(AO 245C) will be
       entered after such detennination.


D The defendant must make restitution (including community restitution) to the followmg payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approxunately proportioned payment, unless specified otherwise in
       the^priority^orderor percentagepaymentcolumnbelow. However,pursuantto 18TJ.S.C. § 36640), all nonfederalvictims mustbepaid
       beforethe'United States is paid.'

Name of Pa ec                                                  Total Loss***              Restitution Ordered           Priori   or Percenta e

    True Blue                                                             $57, 850. 21                  $57, 850. 21

    9375 East Shea Blvd Suite 120
    Scottsdale AZ 85260
    Alcon                                                               $208,658.69                 $208,658.69
    6201 South Freeway
    Fort Worth TX 76134
    Guitar Center                                                          $7,473. 18                    $7,473. 18
    5795 Lindero Canyon Rd
    Westlake Village CA 91362



TOTALS                                                 273,982.08                            273, 982.08


D       Restitution amount ordered pursuant to plea agreement $

D       Ttie defendant must pay interest on restitution and a fine ofmore than $2, 500, unless the restitution or fme is paid in fall before the
        fifteenth day after the date ofthejudgment, pursuant to 18 U. S. C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U. S. C. § 3612(g).

0       The court determmed that the defendant does not have the ability to pay interest and it is ordered that:

        0 the interest requirement is waived for the           D fme    El restitution.
        D the interest requirement for the         D    fine    D restitution is modified as follows:

*
    Amy, Vicky, andAndy^hildPornographyyictim AssistanceAct of2018, Pub.L. No. 115-299.
**
    * Justice for Victims of Trafficking Actof2015, Pub. L. No. 114-22.
*** Findings for the total amount oflosses are required under Chapters I09A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet6 - ScheduleofPayments
                                                                                                               Judgment- Page              of
 DEFENDANT: Mohamed Farah Waes
 CASENUMBER: 2:23cr147

                                                      SCHEDULE OF PAYMENTS

 Havmg assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows;

 A    d    Lump sum payment of $          274207. 08            due immediately, balance due

            d     not later than              ,  or
            D     in accordance with DC, D D,  DE, or                           Q F below; or

B     D    Payment to begin immediately (may be combmed with                 DC,          D D, or      D F below); or

C     D Payment in equal                              (e. g., weekly, monthly, quarterly) instalhnents of $                over a period of
                           (e. g., months or years), to commence                         (e. g., 30 or 60days) afterthe date ofthisjudgment; or

D     D Paymentin equal                            (e.g.,weekly, monthly, quarterly) instalknentsof $                   overa periodof
                        (e. g., months oryears), to commence                        (e.g., 30or 60 days) afterrelease from imprisonmentto a
           tenn of supervision; or

E     d    Payment during the term of supervised release will commence withm              (e. g., 30 or 60 days) after release from
           unprisonment. The court will set thepayment plan basedon an assessmentofthe defendant'sabilityto pay at thattime; or

F     0    Specialmstructions regardingthe payment ofcriminal monetarypenalties:
            Restitution is due immediately with any unpaid balance to be paid in the amount of not less than 10% of the
           defendant's net income per month. While incarcerated, if the defendant is working in a non-UNICOR or Grade 5
           UNICORjob, he shall pay $25 per quarter toward restitution. If working in a Grade 1-4 UNICORjob, the defendant
           shall pay 50% of his monthly pay toward restitution. Any change in the schedule shall be made only by order of
            this Court.

Unlessthecourthasexpresslyorderedotherwise,ifthisjudjgmentimposesimprisonment,pa^
the period of imprisonment. ' All criminal monetary penalties, except those'payments niade through the Federal Bureau of Prisons' Inmate
FinancialResponsibilityProgram, aremadeto the clerk ofthe court.

The defendantshall receive creditfor all payments previously madetoward any criminal monetary penalties imposed.



D     Joint and Several

      Case Number
     Defendant and Co-Defendant Names                                                      Joint and Several                CorrespondingPayee,
      (including defendantnumber)                         Total Amount                         Amount                           if appropriate




D    The defendantshall pay the cost ofprosecution.

D    The defendant shall paythe following court cost(s):

0    The defendantshall forfeit the defendant'sinterest in the followingproperty to the United States:
     As described in the plea agreement.


Payments shall be apphed in the following order: (1) assessment, ^2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fmeprincipal, (6) fine interest, (7) communityrestitution, (8) JVTAassessment,(9) penalties,and(10) costs, includingcostof
prosecution arid court costs.
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                                       DISTWBUTIONOF
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                                 DEFENSECOUNSEL
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